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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW HAMPSHIRE
                                                                                                                            120 JAN 21 P 3= n

 United States of America


                        V.                                                       Case No.                                     Q'o

         r'l-S-lojjk-e-vr                                        |
                                      STIPULATION TO DETENTION AND
                                      WAIVER OF DETENTION HEARING

               hereby waive my right to a detention hearing as provided in:

                      Z 18 U.S.C. 3142(f), pending trial**
                                 . 18 U.S.C. 3148(a), revocation of release/pending tri^!**
                                   Fed.R.Crim.P. 46(c) and 18 U.S.C. 3143, pending sentence
                       _           Fed.R.Crim.P. 32.1(a)(1) and Fed.R.Crim.P. 46(c), pending
                                   revocation of probation/supervised release hearing

 without prejudice, and stipulate to detention.


Date: O 1 ^                            <5^ P-©
                                                                                 Defendant


Date:             ^
                                                                                 Court^eljtr Deft
                                                                                                                                                ^—^tFTP
            STIPULATION APPROVED.



Date: \'Zl^2X>
                                                                                 Unite                       igistrate Judge
                                                                             l/^nited                     District Judge
cc:         US Attorney
            US Marshal,
          ■ US Probation
            Defendant's Counsel

••The defendant Is committed to the custody of the-Attorney General or, her designated representative for confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be
afforded a reasonable opportunity for private consultation with defense counsel. On order of a court for the United States or on request of an attorney
for the Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an
appearance in connection with a court proceeding.




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